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                       Exhibit 12
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O'Hollaren, Ryan T.

From:                       Donovan, William <Wdonovan@mwe.com>
Sent:                       Monday, October 18, 2021 8:39 AM
To:                         O'Hollaren, Ryan T.; Kleine, Benjamin
Cc:                         Brown, Matthew D.; Lopez, Amara S
Subject:                    RE: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation


[External]

Hi Ryan,

Thanks for your note.

Nothing in our call or your note changes ABG’s appropriate objections to the subpoena from Turo. Indeed, the fact that
Uber did not produce the subject information proves our point, as opposed to the conclusion you wish to reach. Turo is
seeking to obtain highly confidential documents on issues with no real relevance to your lawsuit and, even if there was
some tangential relevance, the public information about Uber Rent (which is not a peer‐to‐peer service like Turo) gives
you all that Turo legitimately needs to obtain discovery from LAWA or make arguments against LAWA in the case. ABG
also could not produce anything relating to Uber Rent without the consent of Uber. When I hear back from their
counsel, I will get back to you.

Best,

Bill

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From: O'Hollaren, Ryan T. <rohollaren@cooley.com>
Sent: Friday, October 8, 2021 6:49 PM
To: Donovan, William <Wdonovan@mwe.com>; Kleine, Benjamin <bkleine@cooley.com>
Cc: Brown, Matthew D. <BROWNMD@cooley.com>; Lopez, Amara S <alopez@cooley.com>
Subject: RE: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation

[ External Email ]
Hi Bill,

Writing to follow‐up on yesterday’s call. We maintained our position that Avis’s objections to the subpoena are without
merit, and we again explained the Uber Rent program with Avis and its relevance to the LAX case. You confirmed that
you would speak to your client about Uber Rent, and circle back to us. Since we’ve now discussed that program on the
phone twice, and it’s addressed in the text of the requests, we expect to hear back from you next week on whether Avis
intends to produce any documents.

Also, since the call, we’ve confirmed that Uber agreed to produce documents regarding Uber’s “Express Match”
program, but not the “Uber Rent” program, which is the subject of the subpoena to Avis. Thus, Uber’s production has no
bearing on the documents requested in the Avis subpoena.

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We look forward to hearing back from you.

Best,

Ryan O’Hollaren
Cooley LLP
w 415.693.2288 • m 415.385.2879
rohollaren@cooley.com




From: O'Hollaren, Ryan T.
Sent: Monday, October 4, 2021 10:36 AM
To: 'Donovan, William' <Wdonovan@mwe.com>; Kleine, Benjamin <bkleine@cooley.com>
Cc: Brown, Matthew D. <BROWNMD@cooley.com>
Subject: RE: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation

Great, let’s do Thursday at 9:30. I can send an invite.

Thanks!

Ryan O’Hollaren
Cooley LLP
w 415.693.2288 • m 415.385.2879
rohollaren@cooley.com




From: Donovan, William <Wdonovan@mwe.com>
Sent: Monday, October 4, 2021 10:32 AM
To: O'Hollaren, Ryan T. <rohollaren@cooley.com>; Kleine, Benjamin <bkleine@cooley.com>
Cc: Brown, Matthew D. <BROWNMD@cooley.com>
Subject: RE: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation

[External]

Thursday between 8:30‐10:30 would be easiest.

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From: O'Hollaren, Ryan T. <rohollaren@cooley.com>
Sent: Friday, October 1, 2021 5:48 PM
To: Donovan, William <Wdonovan@mwe.com>; Kleine, Benjamin <bkleine@cooley.com>
Cc: Brown, Matthew D. <BROWNMD@cooley.com>
Subject: RE: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation

[ External Email ]
Hi Bill,
                                                            2
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I’m back. Please let me know your availability for a call next week.

Thanks,

Ryan O’Hollaren
Cooley LLP
w 415.693.2288 • m 415.385.2879
rohollaren@cooley.com




From: O'Hollaren, Ryan T.
Sent: Thursday, September 16, 2021 11:02 AM
To: 'Donovan, William' <Wdonovan@mwe.com>; Kleine, Benjamin <bkleine@cooley.com>
Cc: Brown, Matthew D. <BROWNMD@cooley.com>
Subject: RE: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation

Thanks Bill. Unfortunately, I’ll be out next week.

If you’ve got an available time slot today or tomorrow, I can move my schedule around to make that work. Just let me
know.

Thanks,

Ryan O’Hollaren
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w 415.693.2288 • m 415.385.2879
rohollaren@cooley.com




From: Donovan, William <Wdonovan@mwe.com>
Sent: Thursday, September 16, 2021 10:56 AM
To: O'Hollaren, Ryan T. <rohollaren@cooley.com>; Kleine, Benjamin <bkleine@cooley.com>
Cc: Brown, Matthew D. <BROWNMD@cooley.com>
Subject: RE: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation

[External]

Hi Ryan,

Tough this week but quite a bit of availability on Monday. Would that work?

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From: O'Hollaren, Ryan T. <rohollaren@cooley.com>
Sent: Wednesday, September 15, 2021 10:02 AM
To: Donovan, William <Wdonovan@mwe.com>; Kleine, Benjamin <bkleine@cooley.com>
                                                             3
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Cc: Brown, Matthew D. <BROWNMD@cooley.com>
Subject: RE: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation

[ External Email ]
Hi Bill,

Following up here – are you available this week for a phone call to discuss the subpoena?

Thanks,

Ryan O’Hollaren
Cooley LLP
w 415.693.2288 • m 415.385.2879
rohollaren@cooley.com




From: Donovan, William <Wdonovan@mwe.com>
Sent: Monday, August 2, 2021 4:52 PM
To: O'Hollaren, Ryan T. <rohollaren@cooley.com>; Kleine, Benjamin <bkleine@cooley.com>
Cc: Brown, Matthew D. <BROWNMD@cooley.com>; Elkin, Jenny <jelkin@cooley.com>
Subject: RE: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation

[External]

Ryan,

Thank you. A few points:

1. I can confirm that neither ABG nor its affiliated entities have peer‐to‐peer rentals at LAX, so there is no evidence
relevant to potential similar conduct to Turo at LAX.

2. ABG stands by its objections. I reiterate that we are willing to give you any extension needed on a possible motion to
compel to give you time to try to get information in the apparently similar subpoenas served on Enterprise and Hertz. If
Turo gains any traction in its arguments against Enterprise and/or Hertz, which are in a materially different position to
Turo at LAX (and generally) as noted in your Complaint, we are nonetheless happy to consider that as guidance in our
discussions.

3. Finally, in terms of the definition of ABG, Reed Smith should be have been more diligent in the New Jersey matter but
that is not binding here.

Happy to talk further if needed.

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From: O'Hollaren, Ryan T. <rohollaren@cooley.com>
Sent: Saturday, July 31, 2021 10:09 PM
To: Donovan, William <Wdonovan@mwe.com>; Kleine, Benjamin <bkleine@cooley.com>
                                                             4
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Cc: Brown, Matthew D. <BROWNMD@cooley.com>; Elkin, Jenny <jelkin@cooley.com>
Subject: RE: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation

[ External Email ]
Bill,

Thanks for having the call on Friday.

As promised, attached are the relevant pleadings from the LAX case. As you will see, and as I said on the call among
other points, the first three requests to ABG are squarely relevant to Turo’s defense against the City’s UCL claim, as well
as Turo’s equal protection claim and affirmative defense.

Also attached is the order from the Turo’s subpoena proceeding against ABG in the SFO action, which you will see was
served on the same entity named in this subpoena.

Please let me know if you have any further questions. We will be in touch regarding next steps.

Thanks,


Ryan O’Hollaren
Cooley LLP
w 415.693.2288 • m 415.385.2879
rohollaren@cooley.com




From: Donovan, William <Wdonovan@mwe.com>
Sent: Tuesday, July 27, 2021 10:22 PM
To: O'Hollaren, Ryan T. <rohollaren@cooley.com>; Kleine, Benjamin <bkleine@cooley.com>
Cc: Brown, Matthew D. <BROWNMD@cooley.com>; Elkin, Jenny <jelkin@cooley.com>
Subject: RE: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation

[External]

Friday at 11 am works, thanks.

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From: O'Hollaren, Ryan T. <rohollaren@cooley.com>
Sent: Tuesday, July 27, 2021 12:21 PM
To: Donovan, William <Wdonovan@mwe.com>; Kleine, Benjamin <bkleine@cooley.com>
Cc: Brown, Matthew D. <BROWNMD@cooley.com>; Elkin, Jenny <jelkin@cooley.com>
Subject: RE: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation

[ External Email ]
Hi Bill,

Thanks for sending this along. Let’s schedule a call Thursday or Friday to discuss. I am available:
                                                              5
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          Thursday 10:30 AM – 1 PM PST, anytime after 3:30 PM PST.
          Friday 10 AM‐noon PST, 1 PM‐5 PM PST.

Please let me know what time works for you. Looking forward to speaking with you.

Thanks,

Ryan O’Hollaren
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w 415.693.2288 • m 415.385.2879
rohollaren@cooley.com




From: Donovan, William <Wdonovan@mwe.com>
Sent: Friday, July 23, 2021 6:02 PM
To: Kleine, Benjamin <bkleine@cooley.com>
Cc: Brown, Matthew D. <BROWNMD@cooley.com>; O'Hollaren, Ryan T. <rohollaren@cooley.com>
Subject: RE: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation

[External]

Ben,

Thanks for the extension. A courtesy copy of ABG’s objections are attached. Given the allegations in the case (and
specifically those we cite), there is no legal basis in our view for the requests as to ABG.

If needed, happy to discuss at your convenience.

Enjoy the weekend everyone.

Bill



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From: Kleine, Benjamin <bkleine@cooley.com>
Sent: Tuesday, July 20, 2021 10:46 AM
To: Donovan, William <Wdonovan@mwe.com>
Cc: Brown, Matthew D. <BROWNMD@cooley.com>; O'Hollaren, Ryan T. <rohollaren@cooley.com>
Subject: RE: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation




[ External Email ]
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Bill – that’s fine.




From: Donovan, William <Wdonovan@mwe.com>
Sent: Monday, July 19, 2021 8:31 PM
To: Kleine, Benjamin <bkleine@cooley.com>
Cc: Brown, Matthew D. <BROWNMD@cooley.com>; O'Hollaren, Ryan T. <rohollaren@cooley.com>
Subject: RE: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation



[External]



Ben,



Please let me know if an unconditional extension until this Friday the 23rd is acceptable.



Thanks.



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From: Kleine, Benjamin <bkleine@cooley.com>
Sent: Friday, July 16, 2021 9:40 AM
To: Donovan, William <Wdonovan@mwe.com>
Cc: Brown, Matthew D. <BROWNMD@cooley.com>; O'Hollaren, Ryan T. <rohollaren@cooley.com>
Subject: RE: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation




[ External Email ]

Bill –




Thanks for following up – it’s been a busy week.
                                                             7
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I hope you’re doing well too.



We will agree to an extension to August 4 for the production of responsive documents, but we would ask for your
written responses July 27 (i.e., a 7 day extension).



In the meantime, please let us know if you’d like to discuss any of the requests.



Best,

Ben



Benjamin H. Kleine

Cooley LLP

3 Embarcadero Center, 20th Floor

San Francisco, CA 94111-4004

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Email: bkleine@cooley.com • Website: www.cooley.com/bkleine • www.cooley.com/litigation




From: Donovan, William <Wdonovan@mwe.com>
Sent: Friday, July 16, 2021 8:20 AM
To: Kleine, Benjamin <bkleine@cooley.com>
Cc: Brown, Matthew D. <BROWNMD@cooley.com>
Subject: RE: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation



[External]



Ben,

                                                                       8
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It is important that I get a response this morning.



Thank you.



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From: Donovan, William
Sent: Tuesday, July 13, 2021 3:36 PM
To: bkleine@cooley.com
Cc: Brown, Matthew D. <BROWNMD@cooley.com>
Subject: Subpoena to Avis Budget Group in Turo/City of Los Angeles litigation



Ben,



Hope you and Matt are doing well.



ABG just retained me to respond to your subpoena. It appears there is no imminent discovery deadline. Please let me
know if you will stipulate to a 15‐day extension of the response date on the Subpoena and deadline to serve any
responses and objections, to and including August 4, 2021. That will give me time to investigate the matter and, as
appropriate, meet and confer on Turo’s requests.


Best,



Bill



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